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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: TESTOSTERONE                                  MDL No.: 2545
REPLACEMENT THERAPHY PRODUCT
LIABILITY LITIGATION                                 Master Docket Case No. 1:14-cv-01748

                                                     Hon. Judge Kennelly
This document applies to:
Charles Marsee v. Auxilium
Pharmaceuticals, Inc.,
Case No.: 1:14-CV-1272

  SUGGESTION OF DEATH UPON THE RECORD AND UNOPPOSED MOTION TO
                    SUBSTITUTE PROPER PARTY

        NOW COMES, Counsel for Plaintiff CHARLES MARSEE, KATHLEEN C. CHAVEZ,

of FOOTE, MIELKE, CHAVEZ & O’NEIL, LLC, submits the following Suggestion of Death

Upon the Record of Plaintiff CHARLES MARSEEE and in so doing, states as follows:

        1.     On or around March 18, 2019, Counsel for Plaintiff was advised that Mr. Marsee

died.

        2.     Plaintiff Charles Marsee died on or around February 28, 2019.

        3.     Counsel has not yet been provided with a Certificate of Death.

        4.     Plaintiff was unmarried at the time of his death.

        5.     Fed. R. Civ. P. 25(a)(1) provides as follows: If a party dies and the claim is not

extinguished, the court may order substitution of the proper party. A motion for substitution may

be made by any party or by the decedent's successor or representative. If the motion is not made

within 90 days after service of a statement noting the death, the action by or against the decedent

must be dismissed.




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       6.      Plaintiff’s Counsel has been in contact with Plaintiff’s daughter, Norma Marsee,

who desires to be substituted as the proper party to proceed on Plaintiff’s behalf.

       7.      Pursuant to Fed. R. Civ. P. 25, Plaintiff’s daughter, Norma Marsee, should be

substituted as the proper party for the decedent.

       WHEREFORE, Plaintiff’s Counsel respectfully requests that, in accordance with Fed. R.

Civ. P. 25, this honorable Court substitute Plaintiff’s daughter, Norma Marsee, as the proper

party for the decedent.

       Dated: April 10, 2019                            Respectfully submitted,

                                                        /s/Kathleen C. Chavez
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                                                        Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE
        I hereby certify that on April 10, 2019, I electronically filed the foregoing document with
the clerk of court for the U. S. District Court for the Northern District of Illinois – Eastern
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.


                                                     /s/Kathleen C. Chavez
                                                       Kathleen C. Chavez




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